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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                   IN THE UNITED STATES DISTRICT COURT                           July 28, 2021
                    FOR THE SOUTHERN DISTRICT OF TEXAS                        Nathan Ochsner, Clerk
                             HOUSTON DIVISION



JENTRY KELLEY,                              §
                                            §
                   Plaintiff,               §
                                            §
v.                                          §         CIVIL ACTION NO. H-21-1666
                                            §
DI ANGELO PUBLICATIONS, INC.,               §
                                            §
                   Defendant.               §



                        MEMORANDUM OPINION AND ORDER


      Plaintiff Jentry Kelley ("Plaintiff") filed this action on

November 7, 2018, against defendant Di Angelo Publications,                            Inc.

("Defendant") in the 270th District Court of Harris County, Texas,

asserting      claims   for     (1)     violations      of   the   Deceptive        Trade

Practices Act      ("DTPA"),      (2)    breach of contract,         (3)    common-law

fraud, and (4)     fraud by nondisclosure. 1             Defendant filed a Notice

of Removal on May 20, 2021. 2           Pending before the court is Plaintiff

Jentry Kelley's Motion to Remand ("Plaintiff's Motion to Remand")

(Docket     Entry No.    7) ,   to      which Defendant      has    filed   Defendant

Di Angelo      Publications,      Inc. 's       Opposition: · to   Plaintiff      Jentry

Kelley's Motion to Remand ("Defendant's Response")                    (Docket Entry


      1
      Plaintiff's Original Petition, Exhibit 2H to Notice of
Removal, Docket Entry No. 1-10, pp. 5-9 ~~ 16-51. All page numbers
for docket entries in the record refer to the pagination inserted
at the top of the page by the court's electronic filing system,
CM/ECF.
      2
          Notice of Removal, Docket Entry No. 1.
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No. 8).      For the reasons stated below, Plaintiff's Motion to Remand

will be granted.


            I.   Factual Allegations and Procedural Background

      Plaintiff is the owner of a makeup line based in Houston,

Texas. 3     Defendant is a publishing company incorporated in Texas. 4

This case arises from a contract (the "Contract") between Plaintiff

and Defendant       under which Defendant     agreed   to    publish a   book

entitled "Hooker to Looker:       A Makeup Guide for the Not So Easily

Offended" (the "Book") . 5   Plaintiff states that she wrote the Book, 6

while Defendant states that it ghostwrote the Book. 7

      On November 7, 2018, Plaintiff filed suit against Defendant in

the 270th District Court of Harris County, Texas, asserting claims

for DTPA violations,       breach of contract,     common-law fraud,         and

fraud by non-disclosure.     8
                                 Plaintiff claimed that Defendant had


      3
       Plaintiff's Second Amended Petition, Exhibit 2A to Notice of
RE;=moval, Docket Entry No. 1-3, p. 3 ~ 6; Defendant's Answer,
Affirmative Defenses and Request for Declaratory Judgment in
Response to Plaintiff's Second Amended Petition ("Defendant's
Answer") , Docket Entry No. 3, p. 2 ~ 6.
      4
     Plaintiff's Second Amended Petition, Exhibit 2A to Notice of
Removal, Docket Entry No. 1-3, p. 2 ~ 2.
      5
          Plaintiff's Motion to Remand, Docket Entry No. 7, p. 1         ~    1.

     Plaintiff's Original Petition, Exhibit
      6
                                                        2H    to   Notice    of
Removal, Docket Entry No. 1-10, p. 4 ~ 10.
      7
          Notice of Removal, Docket Entry No. 1, p. 2 ~· 4.
      8
     Plaintiff's Originai Petition, Exhibit 2H                to   Notice    of
Removal, Docket Entry No. 1-10, pp. 5-9 ~~ 16-51.

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"concealed         or      otherwi~e        failed       to    disclose      actual       costs     to

[Plaintiff] " 9 and had demanded payments from Plaintiff that were

not supported by . any agreement or legal principle. 10                                  Plaintiff

claimed that under the Contract, "actual costs were to be deducted

from gross revenue before a split of the net revenues between the

parties [,] "       but     "Defendant materially breached the contract by

concealing         a    markup       on    the    costs,       payable    to     Defendant"        and

deceptively treated the markup as part of the cost of publication. 11

In other words, Plaintiff claimed that "Defendant was not passing

on   actual        costs      but    inf lated      costs       marked    up     to    Defendant's

advantage." 12

      On        January        11,        2020,     Di        Angelo     Publications,            Inc.

( "Di Angelo")          commenced suit against Jentry Kelley ("Kelley")                             in

the Southern District of Texas, arguing that the court had original

jurisdiction under the Copyright Act because Di Angelo was seeking

a declaratory judgment as to ownership of copyrights in the Book.

Di   Angelo        Publications,           Inc.    v.     Jentry       Kelley;        Civil   Action

No. H-20-115, 2020 WL 5884659, at *1 (S.D. Tex. Aug. 28, 2020)                                      On

March 19,          2020,     Kelley moved          to    dismiss       the     suit.                On

August      28,    2020,      the    Honorable David Hittner granted Kelley's


      9
          Id.   at 4 ~       12.
      lOid. at 5 ~           15.
      11
           Id. at 7     ~,    27, 29.
      12):d.      at 8 ~     43.

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motion      to   dismiss,     holding    that    "the     disputed      ownership       and

authorship of the Book hinges on the terms of the Contract[,]" that

Di Angelo's claim therefore involved a question of state and not

federal law, and that the court lacked subject matter jurisdiction.

Id. at *2.       Di Angelo appealed the dismissal to the Fifth Circuit

Court of Appeals, ~nd oral arguments were held on April 26, 2021.

A decision is pending. 13

     On May 6,        2021,   Plaintiff served Defendant a Second Amended

Petition, 14     in which     Plaintiff       requested    for    the   first    time    a

declaration that "Plaintiff is the sole author and sole copyright

owner of the Book." 15        On May 20, 2021, Defendant filed a Notice of

Removal,      arguing     that    the   new   request     for    declaratory     relief

implicated the federal Copyright Act . 16           Plaintiff filed the pending

Motion to Remand on June 18, 2021; 17 Defendant filed a Response on

June 29, 2021; 18 and Plaintiff filed a Reply on July 6, 2021. 19




     13
      Plaintiff' s Motion to Remand, Docket Entry No. 7, p. 3                       ~   4;
Notice of Removal, Docket Entry No. 1, p. 2 ~ 6.
     14
      Plaintiff's Second Amended Petition, Exhibit 2A to Notice of
Removal, Docket Entry No. 1-3, p. 13.
     15 Ig_,_ at.10   ~   58.C.
     16
          Notice :Of Removal, Docket Entry No. 1, pp. 2 - 3 ~               7.
     17
          Plaintiff's Motion to Remand, Docket Entry.No. 7.
     18
          Def end.;:i.nt' s Response, Docket Entry No. 8.
     19
      Plaintiff Jentry Kelley's Reply to Defendant's Opposition to
Plaintiff's Motion to Remand, Docket Entry No. 9.

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                      II.     Plaintiff's Motion to Remand

A.      Standard of Review

        Except as otherwise expressly provided.by Act of Congress, a

defendant or defendants in a civil action brought in a state court

may remove the action to federal court if the action is one over

which the      district       court?       of   the    United States     have    original

jurisdiction.        28 U.S.C. § 1441(a).               Federal district courts have

original jurisdiction over "all civil actions arising under the

Constitution, laws, or treaties of the United States."                          28 U.S.C.

§    1331.   "[A]    suit arises under the Constitution and laws of the

United States only when the plaintiff's statement of his own cause

of    action   shows     that    it        is   based     upon   those   laws    or     that

Constitution."        Louisville       &   Nashville Railroad Co. v. Mottlev, 29

S. Ct. 42, 43        (1908).     Generally,           "[t]he presence or absence of

federal-question        jurisdiction is               governed by the    'well-pleaded

complaint rule,' which provides that federal jurisdiction exists

only when a         federal    question is presented on the               face    of     the

plaintiff's     properly pleaded complaint."                     Caterpillar     Inc.    v.

Williams, 107 S. Ct. 2425, 2429                   (1987).    "Since a defendant may

remove a case only if the claim could have been brought in federal

court,              the question for removal jurisdiction must also be

determined by reference to the 'well-pleaded complaint.'"                        Merrell

Dow Pharmaceuticals Inc. v. Thompson, 106 S. Ct. 3229, 3232 (1986).

        "The removing party bears the burden of showing that federal

jurisdiction exists and that removal was proper."                           Manguno v.

                                                -5-
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Prudential Property and Casualty Insurance Co., 276 F.3d 720, 723

(5th Cir. 2002).           Because removal jurisdiction raises significant

federalism concerns,              the removal statute is strictly construed,

"and any doubt about the propriety of removal must be resolved in

favor of remand."           Gasch v. Hartford Accident &·Indemnity Co., 491

F.3d 278, 281-82 (5th Cir. 2007).


B.      No Jurisdiction Under the Copyright Act

        Federal district courts have original jurisdiction over any

civil action arising under the Copyright Act.                 28 U.S.C. § 1338(a).

An action "arises under"                 the Copyright Act if and only if the

complaint:          ( 1) "is for a remedy expressly granted by the Act[,] "

( 2)    "asserts a        claim requiring constructi [on]        of the Act,"      or

(3) "presents a case where a distinctive policy of the Act requires

that federal principles control the disposi tiori of the claim."

Goodman v. Lee, 815 F.2d 1030, 1031 (5th Cir. 1987)                    (quoting T.B.

Harms        Co.   v.   Eliscu,    339   F.2d 823,    828   (2d Cir.   1964),   cert.

denied, 85 S. Ct. 1534 (1965)).

        Plaintiff does not seek a remedy expressly granted by the

Copyright Act,           and Defendant does not argue that a distinctive

policy of the Act requires that federal principles control the

disposition of Plaintiff's claim.                  Instead, Defendant argues that

Plaintiff's claims require construction of the Copyright Act. 20


        20
       Defendant' s Response,  Docket   Entry  No.   8,  p.   16
( "Establishing Kelley's right will require interpreting federal
law          . ") .  ·

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This is the same basis for federal                         jurisdiction that the Fifth

Circuit        relied    on    in        Goodman,    815    F. 2d    103°1-32,     in   which   a

plaintiff alleged that she was an actual                             joint co-author of a

disputed song.            The Fifth Circuit held that "exclusive federal

district court jurisdiction exists in an action for a declaratory

judgment to establish joint authorship of a copyrighted work," and

thus federal jurisdiction over the plaintiff's claim was proper.

Id. at 1032.            But the Fifth Circuit distinguished between cases

where the "'controlling issue involves a dispute over title to a

copyright arising from an alleged breach of contract'" and cases

that     involved "the validity of                   the copyright itself under the

Copyright Act."               Id.        Because Goodman belonged to                the   latter

category, federal jurisdiction was proper.                           Id.

        While "the Fifth Circuit has recognized that claims requiring

construction of the Copyright Act create jurisdiction when the

actions are based on rights created in the Act [,]"                                 "state law

claims over ownership to a copyright as a matter of state law do

not 'arise under'             the Copyright Act for the purposes of federal

jurisdiction                        If
                                          Ultraflo Corp.        v.     Pelican Tank Parts,

Inc.,    823 F. Supp. 2d 578,                584    (S. D. Tex.      2011)    (citing Kane v.

Nace International, 117 F. Supp. 2d 592, 595-96 (S.D. Tex. 2000);

see     also    Ross    v.    Dejarnetti,           Civil Action No.          18-11277,     2020

WL 1889195,       at *5       (E.D.       La. April 16,       2.020)       ("[O]wnership of a

copyright       involves       only a state              law question        if   the   disputed

ownership hinges on the terms of a contractual agreement.").

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       The mere fact that a contract deals with the disposition
       of a copyright or there is a dispute as to who owns the
       copyright does not implicate the Copyright Act:    "[t]he
       general interest that copyrights, like all other forms of
       property, should-be enjoyed by their true owner is not
       enough" to allege a wrong delineated by the Act, or a
       .remedy provided by it.

RTG LLC v. Fodera, No. 5:19-CV-87-DAE, 2019 WL 5791459, at *5 (W.D.

Tex. May 16, 2019)          (quoting Eliscu, 339 F.2d at 828).

       The      Copyright    Act   provides       that   " [c] opyright        in    a    work

protected under this title vests initially in the author or authors

of the work.            The authors of a      joint work are coowners of                   [a]

copyright in the work. "             17 U.S.C.     §   20l(a).     The Copyright Act

defines a "joint work" as "a work prepared by two or more authors

with    the      intention    that    their      contributions      be    merged          into

inseparable or interdependent parts of a unitary whole."                         17 U.S.C.

§   101.

       The Contract does not explicitly provide for ownership of

copyrights.         However,       every   page    of    the     Contract       refers      to

Plaintiff as "the author[,]" 21 and the Contract refers to the Book

as "Jentry Kelley's book[.]" 22            At the bottom of the last page of

the    Contract,        Plaintiff's    signature       appears    next    to     the      word

"Author. " 23    The Contract further states that "Di Angelo Publications

takes pride        in our ability to          allow the        author    full       creative


       21
      Contract,          Exhibit A to      Defendant' s        Answer,   Docket          Entry
No. 3-1.
       22
            Id. at 3.
       23
            Id. at 6.

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control over the outcome - [of]             your book,    along with a          greatly

enhanced· royalty - percentage            (and   option   for   buyout) . " 24      The

Contract never refers to the Book as a "joint work" or to Defendant

as a "co-author."

       The court concludes that determining the Book's ownership will

require construction of the Contract and not of the Copyright Act.

This case therefore does not arise under the Copyright Act,                         and

Plaintiff's Motion to Remand will be granted.


C.     Removal Is Untimely

       The procedure for removal of civil actions is governed by 28

U.S.C.       §   1446(b), which provides that

       [t]he notice of removal of a civil action or proceeding
       shall be filed within 30 days after the receipt by the
       defendant, through service or otherwise, of a copy of the
       initial pleading setting forth the claim for relief upon
       which such action or proceeding is based, or within 30
       days after the service of summons upon the defendant if
       such iriitial pleading has then been filed in court and is
       not required to be served on the defendant, whichever
       period is shorter.

       "[W]hen read as a whole, § 1446(b) provides a two-step test

for    determining         whether   a   defendant   timely     removed     a    case."

Chapman v.         Powermatic,   Inc.,   969 F.2d 160,    161    (5th Cir.       1992).

"[I]f the case stated by the initial pleading is removabl~,                        then

notice of removal must be filed within thirty days from the receipt

of the initial pleading by the defendant                         II
                                                                      Id.   "[I] f the

case stated by the initial pleading is not removable, then notice


       24
            '.J:d. at 2.
                                           -9-
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of removal must be filed within thirty days from the receipt of an

amended pleading,         motion,    order,      or other paper from which the

defendant cari ascertain that the case is removable."                          Id.

       Defendant argues that this case only became removable when

Plaintiff filed her Second Amended Petition seeking a declaration

that she was the Book's sole author and copyright holder. 25                               But

Plaintiff claimed in her Original Petition, filed November 7, 2018,

that    she    .was    "the   sole   author,      owner,      and   claimant          of   the

intellectual          property   rights    to     the   Book     and     its       ancillary

creations" and "the sole owner of all copyrights" associated with

the Book. 26    Plaintiff's First Amended Petition, filed July 8, 2020,

made a virtually identical claim. 27                If claiming to be the sole

author and copyright owner of a work were enough on its own to

establish an action as removable under the Copyright Act, then this

action became removable on November 12,                      2018, 28 and Defendant's

deadline to remove was December 12, 2018.                   See 28 U.S.C.      §     1446(b).




      See Defendant's Response, Docket Entry No. 8, p. 11 ( "Kelley
       25

introduced a federal question into her state court lawsuit when she
amended her petition a second time and inserted a new cause of
action seeking a declaration of sole authorship and ownership of a
book in suit.ff).
       26
      Plaintiff' s Original Petition, Exhibit                       2H   to     Notice     of
Removal, Docket Entry No. 1-10, p. 4 , 10.
       27
      Plaintiff's First Amended Petition, Exhibit 2D to Notice of
Removal, Docket Entry No. 1-6, p. 4 , 10.
       28
      See Citation Corporate,              Exhibit      1    to Notice of            Removal,
Docket Entry No. 1-1, p. 3.

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But Defendant did not file its Notice of Removal until May 20,

2021, approximately three years too late.


D.      Attorneys' Fees

        Plaintiff seeks reimbursement of attorneys' fees incurred due

to Defendant's improper removal. 29

        Motions for remand are governed by 28 U.S.C. § 1447(c), which

states in pertinent part that

         [i]f at any time before final judgment it appears that
        the district court lacks subject matter jurisdiction, the
        case shall be remanded. An order remanding the case may
        require payment of just costs and any actual expenses,
        including attorney fees, incurred as a result of the
        removal.

        "There is no automatic entitlement to an award of.attorney's

fees."         Valdes v. Wal-Mart Stores,             Inc.,     199 F.3d 290,       292    (5th

Cir.     2000).          "Absent    unusual       circumstances,        courts     may    award

attorney's         fees     under   §    1447 (c)    only where        the· removing party

lacked        an ·objectively           reasonable      basis    for     seeking    removal.

Conversely,         when an objectively reasonable                 basis       exists,     fees

should be denied."             Martin ·v. Franklin Capital Corp., 126 S. Ct.

704, 711 (2005).

        The      court      concludes      that     Defend~nt     had     an     objectively

reasonable basis for seeking removal, and thus Plaintiff's request

for reimbursement of attorneys' fees is denied.



        29
             Plaintif f's    Motion to       Remand,.    Docket    Entry No.        7,    p.   4
~    5 .d.

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                         III.     Conclusions and Order

        For the reasons explained above,               the court concludes that

Defendant· has      failed      to meet    its    burden of    establishing    that

federal jurisdiction exists and that removal was proper.                  The court

further holds that even if removal under the Copyright Act had been

proper, Defendant's removal was untimely.                 Accordingly, Plaintiff

Jentry Kelley's Motion to Remand (Docket Entry No. 7) is GRANTED,

and     this   action   is   REMANDED      to    the   270th   District   Court   of

Harris County, Texas.

        The Clerk will promptly provide a copy of this Memorandum

Opinion and Order to the District Clerk of Harris County, Texas.

        SIGNED at Houston, Texas, on this the 28th day of July, 2021.




                                                      SIM LAKE
                                        SENIOR UNITED STATES DISTRICT JUDGE




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